Filed 12/27/22                                       Case 22-02021                                            Doc 17



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                 3   LAW OFFICES OF MARY ELLEN TERRANELLA
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                 4   409 Boyd Street
                     Vacaville, California 95688
                 5   (707) 428-1778
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                 6
                     Attorney for Debtor(s)
                 7
                 8                      UNITED STATES BANKRUPTCY COURT

                 9                       EASTERN DISTRICT OF CALIFORNIA
                                                Sacramento Division
             10      In the matter of
             11      BRE DA L. SMITHEY                                )       Case No. 21 -21372-A-13
             12                                                       )
                                                                      )       Chapter 13
             13      Debtor                                           )
                     _______________                                  )       Adversary No. 22-2021 -A
             14                                                       )
                     BRENDA L. SMITHEY                                )       JOINT STATUS
             15                                                       )       REPORT
             16      Plaintiff                                        )
                                                                      )
             17          V                                            )
                                                                      )
             18      U.S. DEPARTME T OF EDUCATION                     )
                                                                      )
             19                                                       )       Date: January 10, 2023
             20                                                       )       Time: 1:30 P.M.
                     Defendants                                       )       Courtroom: 28, 7th Floor
             21      ______________ _                                 )       Judge: Fredrick E. Clement

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             23
             24          The parties acknowledge that venue is proper in this proceeding and that this is a
                     core proceeding.
             25
                                               2. STATUS REPORT
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             28
Filed 12/27/22                                       Case 22-02021                                             Doc 17


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                         The parties wish to bring to the Court's attention a certain new process
                  2   developed by the Department of Justice and the Department of Education regarding
                  a   student loan bankruptcy litigation, announced on No ember 17 2022. See

                  4   https://,v\\w.iustice.gov/opa/pr/justice-departrnent-and-departmem-education-
                                1




                      announce-fairer-and-more-accessible-bankruprcy. These new procedures may well
                  5
                      affect the instant case. Defendant's counsel has asked the Deparunent of Education
                  6
                      to consider whether it would agree to tipulate to a discharge in the instant case.
                  7      Discovery is complete in the case. The D partment of Education may require
                  8   some time in assessing the Plaintiffs case in light of its new procedures and

                  9   process. The parties would request a 30-day continuance of the Pretrial

                 10   Conference, set for January I 0, 2023 to further examine whether a discharge would
                      be stipulated to as opposed to setting a trial date in the matter.
                 11
                         RespectfoHy submitted,
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                 14                                           ~ ~ ~o~ / & L - -
                                                                   PlaintiffBrenda L. Smithey
                 15
                 16   Date:
                                                                   Jeffrey J. Lodge, Assistant U.S. Attorney
                 17                                                for Defendant U.S. Department of
                 18                                                Education

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